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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               10/15/2020
                                                                       :
MILTON SIMON,                                                          :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     18-CV-12063 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
CITY OF NEW YORK DEPARTMENT OF :                                             REASSIGNMENT
CORRECTIONS et al.,                                                    :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. Unless and until the Court orders

otherwise, all prior orders, dates, and deadlines shall remain in effect notwithstanding the case’s

reassignment. Any currently scheduled conference or oral argument before this Court is adjourned

pending further order of this Court, but any conference or oral argument before the Magistrate Judge

will proceed as ordered. All parties must familiarize themselves with the Court’s Individual

Rules, including the Court’s Individual Rules and Practices for Pro Se Litigants, which are

available at https://www.nysd.uscourts.gov/hon-john-p-cronan.

        The Clerk of the Court is respectfully directed to mail a copy of this Order to Plaintiff.

        SO ORDERED.

Dated: October 15, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
